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UNITED STATES DISTRICT COURT

DISTRICT C)F MARYLAND
CATHERINE DAVIS
Plaintiff, JURY TRIAL
V, CIVIL ACTION NO

LAURENCE A. HECKER, ESQ.

Defcndant. FEBRUARY 25, 2010

COMPLAINT
l. Plaintiff seeks relief pursuant to the Fair Debt Collection Practices Act
("FDCPA"), 15 U.S.C. § 1692; Md. Ann. Code Commercial LaW Maryland
Consumer Debt Collection Act. § 14-204 et seq. (“MCDCA”); and the Md. Ann.
Code Commercial LaW Consumer Practices Act § 13-301 et seq.
2. The Court's jurisdiction is conferred by 15 U.S.C.l692k and 28 U.S.C. 1331
and 1367.
3. Plaintiff is a natural person Who resides in MD.
4. Plaintiff is a consumer Within the FDCPA.
5. Defendant is a debt collector Within the FDCPA.
6. Defendant has a principal place of business located at 2C SOUTH GOLD
DRIVE, HAMILTON, NJ 08691-0000
7. Dcfendant communicated With Plaintiff or others on or after one year before
the date of this action, in connection With collection efforts with regard to

Plaintiff’ s disputed personal debt.

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S. Defendant communicated With the Plaintiff and failed to advise her of the
required notice pursuant to §1692e (11).

9. Defendant through an agent Who identified himself as the manager, named
l\/Ir. Peterson, threatened to have Plaintiff’ s Wages garnished if she did not
make immediate payment

10. Defendant has not yet sued or obtained judgment against Plaintiff.

ll. Defendants statements Were false, deceptive and misleading in violation of
§l692e.

12. Plaintiff advised the Defendant that he did not yet have judgment on this
debt and could not garnish her Wages.

13. Defendant through his agent Mr. Peterson stated he Would personally get
judgment against Plaintiff.

14. Defendant Mr. Peterson is not an attorney not licensed to practice law in the
State of Maryland and his statements that he Would personally get judgment
against Plaintiff Were false, deceptive and misleading in violation of §l692e.

15. Defendant advised the Plaintiff that the amount of debt they Were
attempting to collect ($3,523.21) consisted of late charges and court costs.

16. Defendant’s statements Were false, deceptive and misleading as no action
has ever been filed against the Plaintiff on this account therefore there are

no court costs associated With the amount allegedly due.

17 . ln the collection efforts, the Defendant violated the FDCPA, inter alia,

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section l692e, -f, and -g.

SECOND COUNT:

 

18. The allegations of the First Count are repeated and realleged as

if fully set forth herein.

19. Within three years prior to the date of this action Defendant has engaged
in acts and practices as to plaintiff in Violation of the l\/Id. Ann. Code Commercial
La_\y l\/laryland Consumer Debt Collection Act § 14-2()4 et seq. (“l\/[CDCA”).

20. Defendant has committed unfair or deceptive acts or practices Within the
meaning of the Md. Ann. Code Comrnercial LaW Consumer Practices Act §

13-301 et seq.

WHEREFORE Plaintiff respectfully requests this Court t0:

l. Avvard Plaintiff statutory damages pursuant to the FDCPA;
2. Avvard Plaintiff costs of suit and a reasonable attorney's fee;
3. Award declaratory and injunctive relief, and such other and further relief as law

or equity may provide

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THE PLAINTIFF ' `
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